Case 2:23-cv-03596-KSH-SDA        Document 35   Filed 06/26/24   Page 1 of 2 PageID: 275




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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

                                             Civil Action No. 2:23-cv-03596
  MARIA DIAMONTE,                            (KSH)(JRA)

                     Plaintiff,

              v.                            Document Filed Electronically

  TAJA NIA HENDERSON, et al.

                     Defendants.


    DEFENDANTS’ RULE 7.1 CORPORATE DISCLOSURE STATEMENT

        Pursuant to Fed. R. Civ. P. 7.1, Defendants Rutgers, The State University of

  New Jersey, the Board of Governors of Rutgers, The State University of New

  Jersey, and Rutgers University Foundation of the State University (collectively,

  “Defendants”) state as follows:
Case 2:23-cv-03596-KSH-SDA      Document 35     Filed 06/26/24   Page 2 of 2 PageID: 276




  1.    The Board of Governors of Rutgers, The State University of New Jersey is

  not a separate entity but is the governing board of Rutgers, The State University of

  New Jersey which is a body corporate and politic and the instrumentality of the

  State of New Jersey for purposes of operating the state university. Rutgers

  University and its Board of Governors do not have a parent corporation and have

  issued no stock. Accordingly, there is no publicly held corporation that owns ten

  percent (10%) or more of their stock.

  2.    The Rutgers University Foundation is a 501(c)(3) nonprofit corporation,

  does not have a parent corporation, and has issued no stock. Accordingly, there is

  no publicly held corporation that owns ten percent (10%) or more of its stock.




  Dated: June 26, 2024                    s/ DanaLynn T. Colao
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